Filed 8/26/24 P. v. Turner CA4/3




                 NOT TO BE PUBLISHED IN OFFICIAL REPORTS

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         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  FOURTH APPELLATE DISTRICT

                                               DIVISION THREE


 THE PEOPLE,

       Plaintiff and Respondent,                                        G062590

           v.                                                           (Super. Ct. No. 11NF1003)

 CHRISTOPHER TURNER,                                                    OPINION

       Defendant and Appellant.



                   Appeal from a postjudgment order of the Superior Court of
Orange County, Nicholas S. Thompson, Judge. Affirmed.
                   Rachel Varnell, under appointment by the Court of Appeal, for
Defendant and Appellant.
                   Rob Bonta, Attorney General, Lance E. Winters, Chief Assistant
Attorney General, Charles C. Ragland, Assistant Attorney General, Eric A.
Swenson and Heather M. Clark, Deputy Attorneys General, for Plaintiff and
Respondent.
            Christopher Turner appeals from a postjudgment order denying
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his petition for resentencing pursuant to Penal Code section 1172.6. Turner
argues the trial court erred by denying his petition because at the evidentiary
hearing it applied the incorrect standard and erroneously admitted his
confession to the police. Neither contention has merit, and we affirm the
postjudgment order.
                                     FACTS
            An amended complaint charged Turner with willful, deliberate,
and premeditated attempted murder (§§ 664, subd. (a), 187, subd. (a), count
1), three counts of street terrorism (§ 186.22, subd. (a), counts 2, 4, &amp; 6), and
two counts of aggravated assault (§ 245, subd. (a)(1), counts 3 &amp; 5). As to
counts 1, 3, and 5, the information alleged Turner personally inflicted great
bodily injury (§ 12022.7, subd. (a)), and committed the offenses for the benefit
of the gang (§ 186.22, subd. (b)(1)). The information also alleged recidivism-
based allegations.
            As relevant here, Turner pleaded guilty to counts 1, 3, and 5 and
the enhancements alleged as to those counts. Turner admitted the following
facts as the basis for his guilty plea: “[O]n or about 3/19/2011 I did unlawfully
and, with the intent to kill, attempted to kill John Doe #1. On or about
10/16/2010 and 7/4/2010 I did willfully and unlawfully commit an assault
upon John Doe #2 and John Doe #3 with a knife. I personally inflicted great
bodily injury on Doe #1, Doe #2 and Doe #3. On such date I committed the


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              Effective June 30, 2022, the Legislature renumbered Penal
Code section 1170.95 to section 1172.6 without substantive change. (Stats.
2022, ch. 58, § 10.) For purposes of clarity, we refer to the statute as section
1172.6 throughout the opinion. All further statutory references are to the
Penal Code.

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offenses for the benefit of Southside Demons, a criminal street gang, and I
acted with the specific intent to promote criminal conduct by members of that
gang.” The trial court sentenced Turner to 17 years in prison.
            Years later, Turner filed a petition for resentencing under section
1172.6. The trial court concluded Turner made a prima facie case for relief
and issued an order to show cause. Later, the court denied his motion to
exclude his confession to police under Miranda v. Arizona (1966) 384 U.S.
436. At the evidentiary hearing, the detective testified and the court admitted
Turner’s confession to the detective into evidence. In his confession, Turner
stated that after another man pulled out a knife and attacked him, Turner
stabbed the man. The court denied his petition for resentencing. In doing so,
the court relied on his plea and his confession.
                                 DISCUSSION
                                        I.
                           SECTION 1172.6 PETITION
            Turner argues that at the evidentiary hearing the trial court
applied the incorrect standard. Any error was harmless.
            Senate Bill No. 1437 (2017–2018 Reg. Sess.) eliminated “natural
and probable consequences liability for murder as it applies to aiding and
abetting.” (People v. Lewis (2021) 11 Cal.5th 952, 957.) The bill also created a
procedural mechanism for defendants who could not be convicted of murder
under the amended laws to seek retroactive relief. (§ 1172.6, subd. (a)(1)–(3);
Lewis, supra, 11 Cal.5th at p. 957.) Senate Bill No. 775 (2021–2022 Reg.
Sess.) expanded the class of defendants entitled to relief to those convicted of
attempted murder under the natural and probable consequences doctrine.
(§ 1172.6, subd. (a)(1); People v. Delgadillo (2022) 14 Cal.5th 216, 223, fn. 3
[identifying changes in Sen. Bill No. 775].)

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            When a defendant makes a prima facie case for relief, the trial
court must “hold a hearing to determine whether to vacate the murder . . .
conviction and to recall the sentence and resentence the petitioner on any
remaining counts in the same manner as if the petitioner had not previously
been sentenced.” (§ 1172.6, subd. (d)(1).) Generally, at the hearing, the
admission of evidence is governed by the Evidence Code. (§ 1172.6, subd.
(d)(3).)
            Assuming for the sake of argument the trial court erred by
applying the incorrect standard, Turner was not prejudiced. Regardless of
whether the error should be evaluated under People v. Watson (1956)
46 Cal.2d 818, 836, or Chapman v. California (1967) 386 U.S. 18, 24, Turner
has not established he was prejudiced.
            Attempted murder requires a specific intent to kill. (People v.
Falaniko (2016) 1 Cal.App.5th 1234, 1242–1243.) A specific intent to kill
requires express malice. (Zemek v. Superior Court (2020) 44 Cal.App.5th 535,
548.) Implied malice cannot support a conviction of attempted murder.
(People v. Bland (2002) 28 Cal.4th 313, 327.)
            Here, the record establishes beyond any reasonable doubt that
Turner was the actual perpetrator of the attempted murder. Turner’s
admission on his plea form that he “unlawfully and, with the intent to kill,
attempted to kill John Doe #1” and that he “personally inflicted great bodily
injury on Doe #1” and his admission to the detective he was the sole offender
demonstrates that he was the actual perpetrator of the attempted murder.
(Delgadillo, supra, 14 Cal.5th at p. 233 [affirming denial of resentencing
petition because record was clear defendant was sole perpetrator]; People v.
Ollo (2021) 11 Cal.5th 682, 693 [“personally inflicted” indicates intent to
punish perpetrators “who directly inflict harm”].) Turner’s reliance on People

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v. Rivera (2021) 62 Cal.App.5th 217, 233–234, is misplaced because in that
case defendant’s plea to malice aforethought second degree murder did not
establish ineligibility while here the record demonstrates Turner had the
specific intent to kill. Thus, the trial court properly denied Turner’s
resentencing petition.
                                        II.
                    MIRANDA V. ARIZONA (1966) 384 U.S. 436            Turner contends that at the evidentiary hearing, the trial court
erred by admitting his confession to the police because it was obtained in
violation of his rights pursuant to Miranda. We disagree.
            “The Fifth Amendment privilege against self-incrimination
protects persons from being compelled by ‘“governmental coercion”’ to serve
as witnesses against themselves in ‘“any criminal case.”’ [Citation.]” (People
v. Myles (2021) 69 Cal.App.5th 688, 705 (Myles).) But a section 1172.6
hearing “‘“is not a trial de novo on all the original charges.”’” (Myles, supra,
69 Cal.App.5th at p. 705.) It is “‘a postconviction proceeding’” and “‘“an ‘act of
lenity’”’” by the Legislature. (Id. at pp. 705–706.) “Because a sentence
modification under section [1172.6] is an act of lenity and not a criminal trial,
the wrongful admission of evidence does not implicate defendant’s
constitutional rights under the Fifth Amendment.” (Id. at p. 706.)
            Pursuant to Myles, Turner was not entitled to litigate a Miranda
claim at his resentencing hearing in an effort to suppress his statements to
police. The time to litigate such a claim was in the original criminal
prosecution. Additionally, as Myles teaches, even the wrongful admission of
evidence does not implicate a defendant’s constitutional rights under the
Fifth Amendment and thus his assertion the Evidence Code governs the
admission of evidence is unpersuasive.

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            Turner’s attempt to distinguish Myles, and People v. Mitchell
(2022) 81 Cal.App.5th 575, both cases involving parole hearing testimony, is
a distinction without a difference. What is of import is that his section 1172.6
petition was a request for leniency and not a prosecution for an offense
threatening his liberty. As the Mitchell court aptly explained: “A petition
under [section 1172.6] is not a criminal prosecution. [Citation.] It is the
opposite of a criminal prosecution. A criminal prosecution can only hurt a
defendant and can never help. The process here is the reverse: it can only
help the defendant and can never hurt.” (Mitchell, supra, 81 Cal.App.5th at p.
588.) Thus, the trial court did not violate Turner’s Miranda rights when it
admitted and considered his confession to police when denying his section
1172.6 petition.

                                 DISPOSITION
            The postjudgment order is affirmed.



                                            O’LEARY, P. J.

WE CONCUR:


MOORE, J.


DELANEY, J.




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